 UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF NORTH
                  CAROLINA CHARLOTTE DIVISION


UNITED STATES OF AMERICA

    V.                                          CASE NUMBER: 3:09CR39-5

MICHAEL GREENE


     THIS MATTER is before the Court on an Order for Remand, filed 03/29/2013,

    for re-sentencing.

     NOW, THEREFORE, IT IS ORDERED that:

     The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

     transport and produce the body of MICHAEL GREENE (USM# 22768-058), for re

     sentencing before the honorable Frank D. Whitney,      in the Western District of North

     Carolina, Charlotte, North Carolina not later than October 3, 2013, and upon completion

     of the re-sentencing hearing, Defendant is to be returned to the custody of the Bureau

     of Prisons.

    The Clerk is directed to certify copies of this Order to the United States Attorney,

    Defendant’s Counsel, the United States Marshal Service, and the United States Probation

    Office.

    IT IS SO ORDERED.




         Case 3:09-cr-00039-FDW      Document 725        Filed 09/12/13     Page 1 of 1
